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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Ubiquiti Networks, Inc.
                                        Plaintiff,
v.                                                         Case No.: 1:18−cv−05369
                                                           Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 26, 2020:


         MINUTE entry before the Honorable Gary Feinerman:Given the Magistrate
Judge's 6/24/2020 order [171], the telephonic status hearing set for 7/9/2020 [167] is
stricken and re−set for 8/19/2020 at 9:30 a.m. Attorneys should appear by calling the
Toll−Free Number: (877) 336−1828, Access Code: 4082461. Members of the public and
media will be able to call in to listen to this hearing (use toll free number). Please, please
be sure to keep your phone on mute when you are not speaking. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court issued media credentials, restricted entry to
future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court. Mailed notice.(jlj, )




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